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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


                                           MDL No. 1:25-md-03143-SHS-OTW

IN RE OPENAI, INC. COPYRIGHT
INFRINGEMENT LITIGATION
                                           Hon. Sidney H. Stein
                                           Hon. Ona T. Wang




THIS DOCUMENT RELATES TO:

Case No. 1:23-cv-08292-SHS (OTW)
Case No. 1:23-cv-10211-SHS (OTW)



OPENAI DEFENDANTS’ OPPOSITION TO AUTHORS GUILD & ALTER PLAINTIFFS’
           MOTION FOR LEAVE TO AMEND THE COMPLAINT
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I.      INTRODUCTION

        Plaintiffs assert that their proposed amended complaint merely seeks to refine the operative

pleading in the case. But the import of the proposed amendment is far broader. At the outset, the

amendment quietly removes a key named Plaintiff whose attempt to unilaterally withdraw from

this case was hotly contested and remains pending before this Court. Worse, while Plaintiffs do

not say so in their Motion, their proposed amendment appears to be an attempt to vastly expand

the substantive scope of this case to an entirely new category of OpenAI large language models—

without adding any new factual allegations about those models. In so doing, the amendment

threatens to open the door to unending discovery far beyond the limits that this Court has

previously imposed. The Motion is, in that sense, similar to another motion pending before this

Court: a motion to amend by the plaintiffs in the now-transferred In re OpenAI ChatGPT case, in

which those plaintiffs seek to convert that two-year-old case from a single-claim action about

copyright infringement to a twelve-count proceeding about everything from “larceny” to an

alleged violation of the Computer Fraud and Abuse Act.

        These proposed amendments come before this Court at the very moment that calls for both

coordination and careful case management. Less than a month ago, the Judicial Panel on

Multidistrict Litigation (“JPML”) consolidated twelve different cases against OpenAI with

instructions to “steer this litigation on a prudent and expeditious course.” Transfer Order, MDL

No. 3143, Dkt. 85 at 4 (“JPML Transfer Order”). 1 Doing so will require, at a minimum, carefully

delimiting the substantive and temporal boundaries of this litigation so that it does not become

unmanageable. See Manual for Complex Litigation (Fourth) § 21.25 (2004) (MDL transferee




1
 “ECF” citations herein refer to docket entries in Authors Guild et al. v. OpenAI Inc. et al., No.
1:23-cv-08292-SHS-OTW (S.D.N.Y.). “Dkt.” citations refer to docket entries in other cases.


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courts may order “consolidated pleadings” and leverage other mechanisms to “resolve competing

claims for certification[] [and] appointment of class counsel.”).

         Plaintiffs seem to hope the Court will resolve their Motion as if this were still a standalone

case, without considering the broader concerns underlying the JPML’s decision. Doing so will

neither serve the needs of this complex MDL, nor “conserve the resources of the parties, their

counsel, and the judiciary.” JPML Transfer Order 2. The Court should decline Plaintiffs’ apparent

attempt to expand this case and pave over this Court’s considered rulings as to which OpenAI

models are properly at issue. The Court should likewise decline Plaintiffs’ invitation to sub silentio

moot a fully briefed, pending motion on the question of whether a key named plaintiff should be

allowed to withdraw from this case without fulfilling her discovery obligations. See ECF 173,

174, 178, 181. OpenAI thus respectfully requests that the Court (A) consider Plaintiffs’ motion in

the context in which it arises—i.e., a complex, multi-action proceeding that will no doubt “involve

overlapping, complex, and voluminous discovery” that requires careful cross-case coordination,

JPML Transfer Order 2; and (B) deny the Motion.

II.      BACKGROUND

         A.     The MDL Proceedings

         Plaintiffs’ action is one of many pending against OpenAI. Numerous other plaintiffs,

including newspapers and other groups of book authors, have filed similar suits in this Court and

in the Northern District of California. See generally Br. Supp. OpenAI’s Mot. Transfer, MDL No.

3143, Dkt. 2. On April 3, 2025, the JPML, recognizing that the actions “involve overlapping,

complex, and voluminous discovery,” ordered the twelve pending cases to be centralized in this

Court “to coordinate discovery, streamline pretrial proceedings, and eliminate inconsistent

rulings.” JPML Transfer Order 2–3. After the JPML ordered centralization, a pending discovery

hearing was adjourned “[i]n the interests of judicial economy and coordinating the twelve actions


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now pending under MDL No. 3143.” ECF 398 at 2. Determining the appropriate scope and

coordination of the operative pleadings across the twelve transferred cases will be one of the first

issues before the Court in its new role as the MDL transferee. See In re General Motors LLC

Ignition Switch Litig., Nos. 14–md–2543-JMF, 2015 WL 3619584, at *2 (S.D.N.Y. June 10, 2015)

(discussing the benefits of “a consolidated or master complaint” to “streamline and clarify the

claims and help eliminate those that are duplicative, obsolete, or unreflective of developing facts

or current law”); Manual for Complex Litigation (Fourth) § 21.25 (2004) (transferee courts to

consider whether to “order consolidated pleadings and motions to decide how to resolve competing

claims for certification[] [and] appointment of class counsel”). The Court will undoubtedly need

to make those determinations as part of its assessment of “pretrial techniques—such as establishing

claim-specific or defendant-specific tracks and creating an attorney leadership structure that

reflects the differences in the claims—[that will help] manage the differences that these actions

may present.” JPML Transfer Order 3 (citation omitted).

       B.      Pending Motions to Amend

       There are two pending motions in the class cases that ask the Court to adjudicate requests

to amend the pleadings: this Motion and a motion to amend filed by the plaintiffs in the similar

(now-transferred) books class action originally filed in the Northern District of California. See In

re OpenAI ChatGPT, No. 3:23-cv-03223, Dkt. 370 (Mar. 4, 2025). Those two motions are

discussed below.

               1.      The Present Motion to Amend

       Plaintiffs in this case are book authors who allege that OpenAI infringed Plaintiffs’

copyrighted works by using those works to train its “generative artificial intelligence models

known as GPT-3, GPT-3.5, GPT-4, and GPT-4 turbo.” See First Consolidated Class Action

Compl. ¶ 4, ECF 69. Plaintiffs’ Consolidated Class Complaint centers on OpenAI’s alleged


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training of its models with two “internet-based books corpora,” which allegedly contain pirated

copies of their works. Id. ¶ 112. As OpenAI has explained, the only models trained using those

two corpora were GPT-3 and GPT-3.5. ECF 282 (Decl. of Nick Ryder) ¶ 6. Plaintiffs have not

disputed that OpenAI’s use of these two corpora was limited to these two models. But in the

interest of cooperation and to avoid burdening the Court with discovery disputes, OpenAI agreed

to provide discovery into a much broader set of models, including GPT-1, GPT-2, and GPT-3,

GPT-3.5, GPT-3.5 Turbo, GPT-4, and GPT-4 Turbo. ECF 281.

       On April 11, Plaintiffs moved to amend their complaint. See Proposed First Am. Compl.,

ECF 405-2 (“PFAC”). Plaintiffs assert that, as to OpenAI, the proposed amendment “merely

formalize[s] what the Court has already ruled” as to the scope of OpenAI models that are included

in the case. See Mot. to Amend. at 6, ECF 401 (“Mot.”). The proposed amended complaint,

however, includes a number of additions that would, in effect, explode the scope of this case to

include not only the models identified above but also an infinite number of other OpenAI models,

including those that OpenAI may develop in the future. See PFAC ¶ 4 (adding the words

“derivatives and successors” to the list of models at issue); see also id. ¶¶ 99, 102, 105–06, 128,

136, 178.

       This is not the first time Plaintiffs have attempted to shoehorn into this case innumerable,

future models. Plaintiffs previously sought to do so via a discovery motion, seeking discovery

into not just those models that powered OpenAI’s commercial products alleged in the Consolidated

Class Complaint, but also OpenAI models in development, as well as “research models” and other

OpenAI “commercial . . . models.” ECF 270. OpenAI objected, citing inter alia, lack of relevance

and the overly burdensome nature of Plaintiffs’ request. See ECF 281. The Court largely agreed,

denied Plaintiffs’ motion, and limited Plaintiffs’ discovery into OpenAI’s models to “the models




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identified in response to interrogatory #11.” ECF 293 at 2. The proposed amendment would

expand the models at issue beyond this Court’s December 6, 2024 Order. See ECF 293.

       Plaintiffs also note in passing that their proposed amendment would remove Plaintiff Maya

Lang—the former President of the Authors Guild who appears to have orchestrated and promoted

this lawsuit on behalf of that organization—from the complaint before she satisfies her existing

discovery obligations. See PFAC at 1; Mot. at 6 n.5. Last summer, Plaintiffs moved to voluntarily

dismiss Ms. Lang from the suit without conditions. ECF 173, 174. OpenAI objected, maintaining

that Ms. Lang should not be permitted to avoid discovery and should be dismissed only on the

condition that she fulfill her discovery obligations. ECF 178. That motion remains pending.

       The proposed amended complaint also includes significant changes as to Microsoft, with a

new claim, a new “Microsoft class,” and additional allegations regarding Microsoft’s model

training. PFAC ¶¶ 137–38, 141, 150–55, 417, 441–442. It also expands the scope of Microsoft’s

products and infrastructure at issue. See, e.g., id. ¶¶ 68, 137–38.

               2.      The Northern District of California Plaintiffs’ Motion to Amend

       The plaintiffs in the now-transferred In re OpenAI ChatGPT case are, like Plaintiffs here,

book authors who seek to represent an overlapping class of similarly situated class members. See

No. 3:23-cv-03223, Dkt. 120 ¶ 4 (Operative Compl.). Those plaintiffs commenced their action

almost two years ago by bringing a number of claims under federal and state law, see id. Dkt. 1,

which, through extensive Rule 12 briefing, were narrowed to a single claim for direct copyright

infringement, see id. Dkt. 104 (dismissing vicarious infringement, unfair competition, unjust

enrichment, negligence, and Section 1202 claims); id. Dkt. 120 ¶¶ 62–74 (realleging claims for

direct copyright infringement and unfair competition); id. Dkt. 162 at 5 (dismissing unfair

competition claim “without leave to amend”).




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       The plaintiffs in that action recently sought to re-open (and materially expand) the scope

of their cases by moving for leave to amend. Those plaintiffs sought to redefine and expand the

scope of their putative class. See id. Dkt. 392-9 at 23 (Redline). They also sought to add a litany

of additional claims, see id. Dkt. 370 (Mot. to Amend), including (1) a repleaded claim for unfair

competition, see id. Dkt. 392-8 ¶¶ 131–37; 2 (2) a repleaded claim under Section 1202 of the Digital

Millennium Copyright Act, see id. ¶¶ 149–56; 3 (3) a repleaded claim for unjust enrichment, see

id. ¶¶ 157–61; 4 and (4) entirely new claims under the California Comprehensive Computer Data

Access and Fraud Act (CDAFA), Section 1201 of the Digital Millennium Copyright Act, the

Sherman Act, and the Computer Fraud and Abuse Act (CFAA), along with state-law claims for

conversion, breach of contract as a third-party beneficiary, and “larceny/receipt of stolen

property,” see id. ¶¶ 138–48, 157–61, 168–94. OpenAI opposed, arguing that the proposed

amendment is prejudicial, untimely, and futile. Id. Dkt. 401. That motion remains pending.

III.   LEGAL STANDARD

       Courts consider five factors when deciding whether to grant leave to amend under Rule

15(a)(2): (1) bad faith; (2) undue delay; (3) prejudice to the nonmoving party; (4) futility of the

proposed amendment; and (5) whether there have been previous amendments. See Foman v.

Davis, 371 U.S. 178, 182 (1962). “[P]rejudice to the opposing party resulting from a proposed

amendment [is] among the ‘most important’ reasons to deny leave to amend.” AEP Energy Servs.

Gas Holding Co. v. Bank of Am., N.A., 626 F.3d 699, 725 (2d Cir. 2010) (quoting State Teachers

Ret. Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981)). “Amendment may be prejudicial when,

among other things, it would ‘require the opponent to expend significant additional resources to


2
  But see In re OpenAI ChatGPT, No. 3:23-cv-03223, Dkt. 162 (N.D. Cal. July 30, 2024)
(dismissing unfair competition claim).
3
  But see id. Dkt. 104 at 5–8 (dismissing similar claims).
4
  But see id. Dkt. 104 at 11–12 (dismissing similar claim).


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conduct discovery and prepare for trial’ or ‘significantly delay the resolution of the dispute.’” Id.

at 725–26.

IV.    ARGUMENT

       This Court should consider Plaintiffs’ Motion both alongside the motion to amend brought

by the Northern District of California plaintiffs and in conjunction with the Court’s overall

coordination and/or consolidation case-management efforts.         Those efforts will presumably

involve considering how to define the scope of the twelve now-transferred cases, how to direct

coordination among the plaintiffs, and whether to require consolidated pleadings—all issues that

implicate the questions of whether, when, and to what extent the plaintiffs in those twelve cases

should be permitted to amend their complaints. See, e.g., Manual for Complex Litigation (Fourth)

§ 21.25 (2004) (“[T]he transferee court can order consolidated pleadings and motions to decide

how to resolve competing claims for certification, appointment of class counsel, and appointment

of lead class counsel.”).

       As explained further below, this amendment—like the expansive amendment proposed by

the Northern District of California plaintiffs—directly implicates the substantive scope of this

lawsuit. That is precisely the kind of issue that must be managed holistically, rather than on a

case-by-case basis, in light of this Court’s expanded role as the MDL transferee. Granting the

Motion would endorse the infinite and endless expansion of the scope of this litigation—both by

these Plaintiffs and by the plaintiffs in the other now-transferred actions. Proceeding on that path

would ignore the need for coordination across the twelve now-transferred actions, which

necessarily includes setting reasonable and administrable limits on the cases’ substantive and

temporal scopes. The Motion should also be denied because it seeks to unilaterally withdraw a

named plaintiff from this case whose previous attempted withdrawal remains an open and

contested issue that the Court has yet to address.


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       A.      This Court Should Not Drastically Expand the Scope of This Case,
               Particularly When Overall Case Management Remains in Flux

       The Motion should be denied because Plaintiffs’ proposed amendment goes far beyond the

more manageable substantive scope that this Court has already delimited and would frustrate the

need to set clear and administrable limits to govern these complex proceedings going forward.

Plaintiffs urge the Court to permit the amendment because it “merely formalize[s] what the Court

has already ruled: that [certain GPT models] are within the scope of the Complaint.” Mot. at 6.

That is simply untrue: by taking aim at model “derivatives” and “successors”—words that

Plaintiffs carefully added to their proposed draft (but do not mention once in their Motion)—the

amendment implicates additional, unnamed OpenAI models, including those not yet in existence.

See PFAC ¶¶ 4, 99, 102, 105–06, 127–28, 136, 178.

       This Court did not “already rule[]” that this open-ended category of models is properly

within the scope of this case. The Court said the opposite: that unidentified models are not properly

subject to discovery. See ECF 293; see supra. In so concluding, the Court was clear that, if

Plaintiffs wished to revisit that ruling, they would need to point to “something specific” or “some

reason that is articulable” to justify reopening the issue. Tr. of 12/3 Hr’g at 101–02.

       Plaintiffs have done no such thing. Indeed, they have not included any allegations

supporting the contention that OpenAI trained “derivative” or “successor” models on Plaintiffs’

works, or that it plans to use those works to train future models that do not yet exist. See PFAC

¶¶ 120–21. That alone is reason enough to deny Plaintiffs’ attempt to expand their claims: there

is simply no “factual matter” in the proposed amendment that would support the expansion. Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).

       Permitting such an unbounded amendment would prejudice OpenAI. Allowing Plaintiffs

to expand the case to new models not even in existence yet would allow them to continually “restart



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the clock on discovery, [which] undoubtedly prejudice[es] the Defendant.” Lesnik v. Lincoln Fin.

Advisors Corp., No. 1:18-cv-03656, 2019 WL 6169971, at *3 (S.D.N.Y. Nov. 20, 2019); see also

Rowe Plastic Surgery of N.J., LLC v. Aetna Health & Life Ins., No. 23-cv-8504, 2025 WL

1004730, at *3 (S.D.N.Y. Apr. 2, 2025) (Wang, J.) (denying leave to amend where, inter alia,

“allowing amendment would require Defendant to, again, spend significant resources litigating the

same issues across numerous cases”). Relatedly, permitting Plaintiffs to expand their case to an

ill-defined and ambiguous category of “successor” models would hinder OpenAI’s ability to

“prepare its rebuttal” for lack of any “concrete identification of” Plaintiffs’ exact allegations. Cf.

E. & J. Gallo Winery v. Instituut Voor Landbouw-En Visserijonderzoek, No. 17-cv-00808, 2018

WL 3062160, at *5 (E.D. Cal. June 19, 2018) (rejecting “repeated use of the catch-all phrases”

because it attempted to “serve[] as a tactical advantage to allow Plaintiffs’ expansion of [claims]

at a later time, which the Court does not permit”).

       Plaintiffs also seek to expand the case materially with respect to Microsoft, adding a new

claim that appears to put at issue new products and new technological infrastructure. The new

allegations will presumably require extensive discovery. See, e.g., PFAC ¶¶ 137–38, 141, 150–

55. The proposed amended complaint also adds an entirely new “Microsoft class.” Id. ¶¶ 417,

441–42. Beginning discovery at this late date on this claim and class, and the corresponding

products they appear to put at issue, will prejudice OpenAI because it will significantly delay

resolution of the claims against OpenAI and this case more broadly. See, e.g., H.L. Hayden Co. v.

Siemens Med. Sys., Inc., 112 F.R.D. 417, 420 (S.D.N.Y. 1986) (denying leave to amend, including

because delaying resolution by six months would be prejudicial).

       This case is at an important juncture. The JPML’s decision to centralize these various

actions before this Court reflects an immediate need for manageable, administrable limits to the




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temporal and substantive scope of the issues.         Plaintiffs’ amendment—like the proposed

amendment from the Northern District of California plaintiffs, see supra—goes in the other

direction and threatens to expand the scope of this case without any just cause. Such amendments

will not “streamline pretrial proceedings” but will instead needlessly bog down this case and pose

a barrier to the efficient and orderly proceedings the JPML contemplated. See JPML Transfer

Order 3; see also In re Taxotere (Docetaxel) Prods. Liab. Litig., No. MDL 16-2740, 2019 WL

13504849, at *2 (E.D. La. Dec. 12, 2019) (denying amendment when it would “negate a significant

amount of the work that has been done”).

       B.      Plaintiffs Cannot Unilaterally Withdraw A Named Plaintiff

       Plaintiffs also quietly seek to withdraw Maya Lang—the former Authors Guild president

who appears to have played a critical role in the formulation of this lawsuit—from this case. See

PFAC at 1 (removing Ms. Lang from the case caption). The Motion addresses this subtle move

only in a footnote. Mot. at 6 n.5. But whether Ms. Lang can unconditionally withdraw from the

lawsuit she helped to instigate without fulfilling the basic discovery obligations that attach to all

plaintiffs as a matter of course is a question currently pending before the Court. See ECF 173

(Mot. to Withdraw); ECF 178 (OpenAI’s Response); ECF 181 (Plaintiffs’ Reply). OpenAI has

already explained why unconditional withdrawal would prejudice its defense. See ECF 178 at 9–

12. The same prejudice would apply if the Court were to permit dismissal of Ms. Lang without

conditions by allowing the amendment to function as a de facto dismissal. The Court should

instead order dismissal with conditions, as OpenAI requested. See id. at 14.

V.     CONCLUSION

       For the foregoing reasons, OpenAI respectfully requests that this Court deny Plaintiffs’

Motion for Leave to Amend.




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    Dated: April 25, 2025

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 All parties whose electronic signatures are included herein have consented to the filing of this
document, as contemplated by Rule 8.5(b) of the Court’s ECF Rules and Instructions.


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                   CERTIFICATE OF WORD COUNT COMPLIANCE

       I, Elana Nightingale Dawson, an attorney admitted pro hac vice to practice before this

Court, hereby certify pursuant to Local Civil Rule 7.1(c), and Rule 2.C of Judge Sidney H.

Stein’s Individual Practices, that the foregoing OpenAI Defendants’ Opposition to Authors Guild

& Alter Plaintiffs’ Motion for Leave to Amend the Complaint was prepared in Microsoft Word

and contains 3,205 words. In making this calculation, I have relied on the word and page counts

of the word-processing program used to prepare the document.



Dated: April 25, 2025


                                                /s/ Elana Nightingale Dawson
                                                Elana Nightingale Dawson




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